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                                                                           DOC #:
UNITED STATES DISTRICT COURT                                               DATE FILED: 01/12/2021
SOUTHERN DISTRICT OF NEW YORK
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                                                                         X
MICHELLE MARINO, individually and on behalf of all :
others similarly situated,                                               :
                                                                         :
                                             Plaintiff,                  :
                                                                         :  16-CV-1122 (VEC)
                           -against-                                     :
                                                                         :
COACH, INC.,                                                             :
                                                                         :
                                             Defendant.                  :
------------------------------------------------------------------------ X
MONICA RAEL, on behalf of herself and all others                         :
similarly situated,                                                      :
                                                                         :
                                             Plaintiff,                  :
                                                                         :  16-CV-3773 (VEC)
                           -against-                                     :
                                                                         :
COACH, INC.,                                                             :
                                                                         :
                                             Defendant.                  :
------------------------------------------------------------------------ X
DEBORAH ESPARZA, individually and on behalf of all :
others similarly situated,                                               :
                                                                         :
                                             Plaintiff,                  :
                                                                         :  16-CV-3677 (VEC)
                           -against-                                     :
                                                                         :
COACH, INC.,                                                             :
                                                                         :
                                             Defendant.                  :
------------------------------------------------------------------------ X
CERA HINKEY, on behalf of herself and all others                         :
situated,                                                                :
                                                                         :
                                             Plaintiff,                  :
                           -against-                                     :  16-CV-5320 (VEC)
                                                                         :
COACH, INC.,                                                             :
                                                                         :
                                             Defendant.                  :
------------------------------------------------------------------------ X
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                                            ORDER

VALERIE CAPRONI, United States District Judge:

       WHEREAS a Fairness Hearing in this matter is scheduled for Tuesday, February 23,

2021 at 10:30 A.M., Dkt. 137; and

       WHEREAS the Fairness Hearing is scheduled to be held in Courtroom 443 of the

Thurgood Marshall United States Courthouse, Dkt. 137;

       IT IS HEREBY ORDERED that due to the rising number of COVID-19 cases in New

York City, the Court will hold the hearing by video and telephonic conference using the Skype

platform. Counsel for the parties and objectors who will be granted speaking privileges will be

emailed a link to participate in the video conference a few days before the hearing. Other

settlement class members and any interested members of the public may listen to the proceeding

remotely by dialing 1-917-933-2166 and using the conference ID number 484793510. All of

those accessing the hearing are reminded that recording or rebroadcasting of the proceeding is

prohibited by law.

       IT IS FURTHER ORDERED that the parties must post this change of venue on the

settlement website by no later than Thursday, January 14, 2021. See Order, Dkt. 137 at 13 n.3

(“The Court may reschedule or relocate the hearing by issuing an order on the public docket;

such order shall be immediately posted to the settlement website.”).



SO ORDERED.
                                                    _________________________________
Date: January 12, 2021                                    VALERIE CAPRONI
      New York, NY                                        United States District Judge
